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                                                                           United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                            September 01, 2023
                                                                                Nathan Ochsner, Clerk
                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

UNITED STATES OF AMERICA
                                                     CRIMINAL NUMBER
VS.
                                                          M-23-0524-01
ERNESTO GAONA-GONZALEZ


                                       0 R D E R

       Came on to be considered Defendant Ernesto Gaona-Gonzalez'

Motion to Continue Final Pretrial and Jury Selection Hearings which

motion      is    unopposed     by   the   GovernmentI    and   the   Court,          after

considering        said motion,      finds   that   the   failure     to   grant          the

Defendant's       Motion   for   Continuance     would    be    likely     to      make       a

continuation of such proceeding impossible or result in a miscarriage

of justice and is of the opinion that said motion should be granted.

       It   is,    therefore,    ORDERED,    ADJUDGED,     and DECREED that the

Motion for Continuance of Defendant Ernesto Gaona-Gonzalez is hereby

GRANTED, and this case is continued for the reasons stated above.

       It is further ORDERED that the Final Pretrial previously set

for September 5, 2023, is hereby reset to November 6, 2023, at 9:30

a.m., and Jury Selection previously set for September 6, 2023, is

hereby reset to November 7, 2023, at 9:30 a.m., in the Eleventh Floor

Courtroom, Bentsen Tower, 1701 West Business Highway 83, McAllen,

Texas.
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     The Clerk shall send a copy of this order to the Defendant,

his counsel, and counsel for the Government.

     DONE on this           day of September, 2 023, at McAllen, Texas.



                                                 ~%-~
                                                Ricardo H. Hinojosa
                                            UNITED STATES DISTRICT JUDGE




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